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            IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                      OFFICE OF SPECIAL MASTERS
                                             No. 12-535V
                                     Filed: September 19, 2014
                                        (Not to be published)

************************
TYRELLE CATING,                                    *
                                                   *
                         Petitioner,               *       Stipulation; Attorneys’ Fees & Costs
v.                                                 *
                                                   *
SECRETARY OF HEALTH                                *
AND HUMAN SERVICES,                                *
                                                   *
             Respondent.                           *
************************
Isaiah Kalinowski, Esq., Maglio, Christopher & Toale, PA, Washington, DC for petitioner.
Glenn MacLeod, Esq., U.S. Dept. of Justice, Washington, DC for respondent.

                        DECISION ON ATTORNEY FEES AND COSTS1

Gowen, Special Master:

       In this case under the National Vaccine Injury Compensation Program,2 I issued
a Decision on April 7, 2014, adopting the parties’ stipulation for award. On September
19, 2014, the parties filed a Stipulation of Fact concerning attorneys’ fees and costs.
Pursuant to General Order #9, petitioner also filed on September 19, 2014, a statement
indicating that he did not incur costs related to the litigation of this matter.

     The parties’ stipulation indicates that respondent does not object to the amended
amount of $24,750.00 that petitioner is requesting for attorneys’ fees and costs.

      I find that this petition was brought in good faith and that there existed a
reasonable basis for the claim. Therefore, an award for fees and costs is appropriate,
pursuant to 42 U.S.C. §§ 300aa-15(b) and (e)(1). Further, the proposed amount seems

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I intend
to post this decision on the United States Court of Federal Claims' website, in accordance with the E-
Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44
U.S.C. § 3501 note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and
move to delete medical or other information, the disclosure of which would constitute an unwarranted
invasion of privacy. If, upon review, I agree that the identified material fits within this definition, I will
delete such material from public access.
2
  The applicable statutory provisions defining the program are found at 42 U.S.C. § 300aa-10 et seq.
(2006).
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reasonable and appropriate. Accordingly, I hereby award:

               a lump sum of $24,750.00 in the form of a check payable jointly to
                petitioner and petitioner’s attorney, Isaiah Kalinowski, for petitioner’s
                attorneys’ fees and costs.

        The clerk of the court shall enter judgment in accordance herewith.3


IT IS SO ORDERED.
                                                 s/Thomas L. Gowen
                                                 Thomas L. Gowen
                                                 Special Master




3
 Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to seek review.
See Vaccine Rule 11(a).


                                                     2
